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                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF TEXAS
                                 SAN ANTONIO DIVISION

UNITED STATES OF AMERICA                         §
Plaintiff                                        §
                                                 §
vs.                                              §     No.: SA:19-CR-00370(21)-XR
                                                 §
 21 ADAM RODRIGUEZ                               §
Defendant

                     ORDER SETTING REARRAIGNMENT AND PLEA

            IT IS HEREBY ORDERED that the above entitled and numbered case is set for

02:30 PM , in Courtroom A, on the 2nd Floor of the United States Federal Courthouse, 262

W. Nueva Street, San Antonio, TX on Tuesday, March 18, 2025
                                                       2025.



            IT IS FURTHER ORDERED that the Clerk of Court shall send a copy of this order

to Defendant, counsel for Defendant, the United States Attorney, U.S. Pretrial Services, and the

United States Probation Office. Further, counsel for Defendant shall notify the defendant of this

setting. If the defendant is on bond, Defendant shall be present for the hearing.



            IT IS SO ORDERED this 27th day of February, 2025.




                                               Elizabeth S. ("Betsy") Chestney
                                               UNITED STATES MAGISTRATE JUDGE
